    Case 1:18-cv-00950-LO-JFA Document 162-9 Filed 05/22/19 Page 1 of 3 PageID# 4220




  From:                       Vredenburg, Roger (CCI-Virginia) [Roger.Vredenburg@cox.com] on behalf of HRD-TOC
                              (CCI-Hampton Roads) [HRD-.TOC@cox.com]
  Sent:                       Thursday, March 27, 2014 5:12 PM
  To:                         Sikes, Joseph (CCI-Atlanta); HRD-TOC (CCI-Hampton Roads); CCI -Abuse Corporate
  Subject:                    RE: Request for Termination - CATS Ticket 18640545


  On each suspension and reactivation notes are put in so that we can see what was previously covered with the
  customer.

  Ticket# 17279725 shows we had spoken to him about file sharing programs and how to find them (notes indicated he
  even asked)

  Ticket# 17613991 stated he knew he had an open router and would secure it

  Ticket 18198022 he advised me the router was now secured

  It is my normal procedure to cover with the customer the program being used (torrents, ARES, etc) and the basics of
  how they work/what they do and where to look to remove ... and I put that info into my notes

  In this case with the sequence of the information provided to him then no I probably did not cover all that material
  again.


  From: Sikes, Joseph (CCI-Atlanta)
  Sent: Thursday, March 27, 2014 4:49 PM
  To: HRD-TOC (CCI-Hampton Roads); CCI - Abuse Corporate
  Subject: RE: Request for Termination - CATS Ticket 18640545


  That was back in October 2013.

  We can't expect our Customers to know and remember as much as we do about this stuff, especially if the account
  holder is not the one using BitTorrent.

  Roger,

  On this Customer's last suspension (Ticket# 18198022), at the beginning of this month (March s•h), did you also explain
  that they should still check all of the computers in their household for BitTorrent clients and to speak to other members
  of their household (particularly their children, roommates, etc) about running/installing BitTorrent and
  downloading/sharing files? You only mentioned their wireless network in your work log notes.

  On final suspensions, we need to be as detailed as possible on the work log notes, show that we have covered
  EVERYTHING with the Customer. On 404 suspensions for DMCA, this is our last ditch effort to save the Customer.
  Obviously, if they don't care and don't want to help us help them, there's not much more we can do, but this should also
  be noted in the work log notes.

  Sorry for all my questions and rants! Welcome to "Termination Review!" ;)


  cox




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            COX_BMG00181863
    Case 1:18-cv-00950-LO-JFA Document 162-9 Filed 05/22/19 Page 2 of 3 PageID# 4221


  Joseph Sikes, Senior Lead Engineer
  Customer Snfcly I Security Assurance & Intelligence
  404-847-6486 tel 404-964-6006 cell
  6305 Peachtree Dunwoody Rd, B07-159B, Atlanta GA 30328




  From: Mathews, Martin (CCI-Virginia) On Behalf Of HRD-TOC (CCI-Hampton Roads)
  Sent: Thursday, March 27, 2014 4:35 PM
  To: Sikes, Joseph (CCI-Atlanta); HRD-TOC (CCI-Hampton Roads); CCI - Abuse Corporate
  Subject: RE: Request for Termination - CATS Ticket 18640545



  Looks like PTP programs were discussed back on ticket 15711339 (Which also was a final suspension as well).

  Thank you,

  Martin Mathews
  Hampton Roads Network Security
  866-269-8627, option 2
  757-224-0172
  Supervisor: Kimberly Brown
  Monday - Thursday 1:00 pm - Midnight Eastern




  From: Sikes, Joseph (CCI-Atlanta)
  Sent: Thursday, March 27, 2014 4:24 PM
  To: HRD-TOC (CCI-Hampton Roads); CCI -Abuse Corporate
  Subject: RE: Request for Termination - CATS Ticket 18640545


  Per Roger's last conversation, it looks like the Customer suspected that their wireless network was the culprit.

  I assume you also covered the likely possibility that it could also be a BitTorrent client running on one of their
  computers?

  If this was not covered thoroughly on the last call with them, please advise them that securing their wireless network
  obviously did not work. So, the BitTorrent client is running on one of their computers (their child's, etc) and they need
  to uninstall it.

  Thi s Customer pays us over $400/month and if we terminate their internet service, they will likely cancel the rest of their
  services.

  Every terminated Customer becomes lost revenue and a potential Detractor to our Net Promoter Score. We should
  make absolutely certain that we have covered each and every possibility with them ("to the bitter end") before we
  terminate them.

  If all of this has been covered in detail, then please go ahead and terminate their internet service for this complaint.

  Thanks, y'all! ©
  cox
                                                                2




HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                                 COX_BMG00181864
   Case 1:18-cv-00950-LO-JFA Document 162-9 Filed 05/22/19 Page 3 of 3 PageID# 4222


  Joseph Sikes, Senior Lead Engineer
  Customer Safely I Security Assurance & lnlclligcncc
  404-847-6486 tel 404-964-6006 cell
  6305 Peachtree Dunwoody Rd, B07-159B, Atlanta GA 30328




  From: Mathews, Martin (CCI-Virginia) On Behalf Of HRD-TOC (CCI-Hampton Roads)
  Sent: Thursday, March 27, 2014 4:10 PM
  To: CCI - Abuse Corporate
  Cc: HRD-TOC (CCI-Hampton Roads)
  Subject: Request for Termination - CATS Ticket 18640545


  Last ticket (18198022) customer was warned that further complaints would result in termination. We have received an
  additional complaint.

  Thank you,

  Martin Mathews
  Hampton Roads Network Security
  866-269-8627, option 2
  757-224-0172
  Supervisor: Kimberly Brown
  Monday - Thursday 1:00 pm - Midnight Eastern




                                                           3




HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                        COX BMG00181865
